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                                              Exhibit M
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                                                                918
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

MDL No. 1456

Master File No. 01-CV-12257-PBS

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IN RE:   PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE LITIGATION

________________________________

THIS DOCUMENT RELATES TO:

United States of America ex rel.

Ven-A-Care of the Florida Keys, Inc.,

et al., v. Dey, Inc., et al.,

Civil Action No. 05-11084-PBS

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(Cross caption follows on next page.)

                   July 23, 2008

                   9:01 a.m.



               VOLUME IV



     Continued Videotaped Deposition

           of JOHN LOCKWOOD, M.D.
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                                                            42 (Pages 1079 to 1082)
                                                    1079                                                    1081
 1 not sure, that was also a distributor type               1 inhalant drugs or not, I think they did; but I
 2 wholesaler.                                              2 know that J.J. Balan and Anda did for sure, we
 3        So we had a number of sources that                3 purchased drugs from them.
 4 involved pricing directly from wholesalers, both         4   Q. And that covers the categories of
 5 distributor type wholesalers and full line               5 sources of information of Roxane's pricing?
 6 wholesalers as well as GPO prices.                       6     A. Well, and full line wholesalers like
 7     Q. What's the distinction you draw between           7 McKesson and you can buy either their list price
 8 distributor type wholesalers and full line               8 or at contract price if you had a GPO
 9 wholesalers?                                             9 relationship that worked through McKesson.
10     A. You know, I don't draw a lot of                  10    Q. I believe Servall was one of McKesson's
11 distinctions. They both have the same wholesale         11 GPOs?
12 license, as far as I know, in most states; but in       12     A. Yes, correct.
13 many circumstances, but not all circumstances,          13     Q. Do you mind refreshing my memory as to
14 distributors tend to buy low and sell higher, and       14 when Ven-A-Care became a Servall member?
15 they don't do chargebacks; whereas many of the          15     A. I just looked at that actually
16 full line wholesalers are in the business of            16 yesterday. March of 2000 I believe is when we
17 buying high and selling lower, which involves the       17 became a Servall member, and we started getting
18 whole chargeback mechanism, if -- if there is a         18 Servall prices, as I recall, almost immediately
19 contract involved.                                      19 after, after signing the contract; but prior to
20        So, um, and it's interesting that if             20 that they were an Innovatix member.
21 you buy at the list price from McKesson, the list       21       We were not buying direct from the
22 price at McKesson is many times much, much higher 22 company. I don't believe we've made any effort to

                                                    1080                                                    1082
 1 than the purchase price at a distributor/                1 buy direct from the company, at least I'm not
 2 wholesaler.                                              2 aware of any.
 3       So I think they're all wholesalers,                3     Q. When you say "not buying direct from
 4 there are different in how they do business with         4 the company," you mean not buying directly from
 5 providers or, you know, with those that can buy          5 Roxane itself?
 6 the drugs.                                               6     A. Yes, we didn't do that; but, um,
 7     Q. Let me summarize and make sure I got              7 meaning we didn't call the company directly to
 8 all the categories that you mentioned in terms of        8 purchase drug. How you define "direct" is a
 9 your sources of pricing.                                 9 whole other issue, but I think that's -- I think
10        One category were generic wholesalers            10 that's it.
11 like J.J. Balan and Anda, for instance.                 11        Now there may be other companies that I
12        Another category would be GPOs like              12 didn't mention that we had sources from, for
13 Innovatix and Servall; is that right?                   13 instance we did have, you know, there were some
14    A. Yes.                                              14 other GPOs that we may have had access to in the
15    Q. And perhaps Florida Infusion but you              15 1995 time range that had Roxane products, but not
16 are not sure?                                           16 ipratropium, obviously, because it didn't hit the
17    A. Well, Florida Infusion is not really a            17 market until later.
18 GPO, they are a wholesaler, distributor type            18     Q. Do you remember approximately when
19 wholesaler.                                             19 Roxane's ipratropium bromide did hit the market?
20    Q. That's right, that's a possibility but            20     A. You know, my recollection is '96-97
21 you are not sure?                                       21 time frame.
22    A. I'm not sure if they carried the                  22     Q. I take it Ven-A-Care has never signed a
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                                                            48 (Pages 1103 to 1106)
                                                    1103                                                     1105
 1 is eight years later, you don't remember what was        1 were able to figure out how to print the entire
 2 written, if anything, about Roxane in that               2 data set to a file and then import that data set
 3 disclosure statement; right?                             3 into something like Microsoft Access; so we
 4     A. No, because we would include pricing              4 ultimately provided the government the pricing on
 5 information and for some companies we might have         5 all the NDCs that were in the McKesson database.
 6 more explicit materials than others. We might            6        So my recollection of how this happened
 7 have marketing flyers or faxes or a variety of           7 would be that we printed individual sheets, I
 8 things that might speak to the issue, and for            8 believe in April or prior to this, um, but the
 9 other companies we didn't. But the disclosure            9 entire data dump, so to speak, of the whole
10 statements tended to identify all of those.             10 database occurred later within the year and we
11     Q. Okay. So sitting here today you don't            11 updated that database at I think 10 or 11 or 12
12 know, in terms of the exhibits or documents about       12 points in time between 2000 and 2002 so that we
13 Roxane's pricing, you can't remember what, if           13 had a data dump of ballpark 25,000 NDCs that we
14 anything, was in there?                                 14 gave to the government on 10 or 11 occasions at
15     A. I can't tell you the contents of that            15 varying points in time during that time period
16 other than I -- it would have been a compilation        16 and after.
17 of pricing information and other evidence that we       17     Q. What was the purpose of sending that to
18 gathered over time for Roxane.                          18 the government?
19     Q. Now I recall from your last day of               19     A. We were attempting to disclose as much
20 testimony, which was a couple months ago, that          20 information as we could to the Federal
21 you had mentioned collecting information from           21 Government, and ultimately the States, about
22 Servall, which was that McKesson-connected GPO,         22 pharmaceutical pricing so that they could

                                                    1104                                                     1106
 1 on about 25 NDC's?                                       1 understand for themselves what was happening,
 2     A. Yes, sir.                                         2 they could look for, you know, for themselves at
 3     Q. And you sent that information on to the           3 the type of pricing that was occurring and on a
 4 Boston attorney's office; do you remember that?          4 variety of different drugs.
 5     A. Yes, sir, yes.                                    5     Q. So from that database they could
 6     Q. And I think you testified that was                6 theoretically look up Roxane's NDCs that you had
 7 sometime in early 2000; does that sound right to         7 listed in the Complaint and see whether your
 8 you?                                                     8 pricing was the real pricing that could be
 9     A. Well, in part I looked at some -- I               9 obtained?
10 looked at that Servall document yesterday to look       10     A. Yes, sir, and then ultimately we were
11 at that issue and we signed the contract in March       11 able to figure out a way to duplicate the
12 of 2000 and it took me a little time to figure          12 program, actually the Econolink program, and gave
13 out how to make all that work and print and do          13 them a laptop with a functioning version of the
14 things and provide that information to the              14 Econolink program on it that they could basically
15 government, but it was sometime during 2000, to         15 run the program and -- and show them what it was
16 the best of my recollection, meaning I don't            16 like to be a pharmacist looking at the Econolink
17 think it was in March of 2000, um, but it was           17 program and the prices that were available.
18 probably by, I would think, by April when we were 18           Q. When did you do that? When did you get
19 doing this, we had figured out how to run the           19 the laptop with the functioning software?
20 software and were able to print out individual          20     A. I would say late 2000 or perhaps early
21 pricing reports, and a very simple thing to do          21 2001, I'd have to look, but somewhere or, yeah,
22 for the ipratropium drugs for Roxane, and then we 22 late 2000 to maybe mid 2001, I'd have to look
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                                                            49 (Pages 1107 to 1110)
                                                    1107                                                        1109
 1 exactly, but sometime when that became available         1 actually had a little thing where it would show
 2 we turned that over to the Government so they            2 you the spread and it was labeled spread between
 3 could look at the entire range.                          3 the AWP and the acquisition cost that was
 4    Q. I messed up the question earlier. I                4 calculated by the software. It was user-
 5 just wanted to clarify the question. My question         5 friendly information about drugs and prices and
 6 was when did you give the Federal Government the         6 would show you the difference between the
 7 laptop with the functioning Econolink software,          7 contract price and the AWP or the list price and
 8 and I think you said somewhere late 2000 or              8 the AWP.
 9 around then?                                             9      Q. When you say it would show you the
10     A. Yes, late 2000 or perhaps 2001, I could          10 spread or the difference between the AWP and the
11 try to find the date at some point, but yes.            11 contract price or the list price, would it show
12    Q. Now, what kind of information is                  12 it to you in a numeric form? In other words a
13 available through this Econolink Servall                13 difference in dollars between them or as a
14 database?                                               14 percent?
15     A. It has an AWP column -- well, let's              15      A. In numerics, a dollar amount.
16 first of all say it has the NDC number, it has          16         There is -- the Econolink manual
17 the company, the package size, a variety of just        17 actually speaks to that spread, I don't know if
18 core information about the product --                   18 you want to call it window, or it's essentially
19    Q. Okay.                                             19 a, you know, you could push a button and it would
20     A. -- that tells you essentially what               20 bring up at some point a small window that would
21 product you've got.                                     21 show the AWP and your purchase price and give you
22      It then has a column for the AWP, which            22 a spread dollar difference, and they called it

                                                    1108                                                        1110
 1 my understanding is McKesson got a download from         1 the spread.
 2 First DataBank for that periodically; you had a          2      Q. That was the actual word that was used
 3 column telling you the date that AWP had been            3 on the database?
 4 updated by McKesson, it may or may not be the            4      A. Yes, sir.
 5 exact AWP that was in the market at that time but        5      Q. When you say "contract price," what was
 6 the date that it had been updated; and it gave           6 your understanding of what contract price
 7 you the list price at McKesson which in some --          7 represented?
 8 in general we believe was relatively close to the        8      A. Um, the contract price, um, would
 9 WAC price, within five percent usually of                9 represent a GPO price and which in general was a
10 McKesson's acquisition cost; and it gave us             10 Servall price. There may be a few drugs that
11 contract price if a contract was available on           11 Servall didn't have that would be covered by
12 that product, and the dates, relevant information       12 that, I believe -- and I believe were covered by
13 like that.                                              13 Innovatix pricing, and we had some discussion, as
14        And then the program would allow you to          14 I recall, with McKesson about that because
15 look for drugs by any variety of methods, the           15 normally you have one GPO but if a GPO doesn't
16 McKesson Econolink number, by NDCN, buyer brand 16 cover all the drugs you are allowed to have a
17 name and by generic name, and perhaps some other        17 backup, so to speak, for additional drugs. So
18 things that were internal McKesson things.              18 the prices were the Servall contract prices, and
19        So you could look up drug in a number            19 there's not always a contract on every -- on
20 of different ways and then you would find if            20 every drug.
21 there were generics to the drug or not, and there       21         Manufacturers bid to be on those
22 was one aspect of it where you could -- they            22 contracts. If they don't win the bid then they're
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                                                              50 (Pages 1111 to 1114)
                                                      1111                                                       1113
 1 not on there. But there is then also a list                1 like that?
 2 price, which is a price you can buy at without a           2     A. Oh, I wouldn't say that long. I mean
 3 contract.                                                  3 how long it takes you to type in the number, the
 4     Q. You said a little bit earlier it was                4 information popped up immediately, it was
 5 very simple to pull up Roxane's ipratropium                5 immediate, and however long it took you to do the
 6 bromide through this process. How would that               6 math in your head, which, you know, if you want
 7 happen? How would you pull up the price if you             7 to calculate to the penny that's one thing, but
 8 wanted to look at what Roxane's ipratropium                8 if the AWP is $30.00 and your purchase price is
 9 bromide was and in particular an AWP versus its            9 10, well, or 9.98, you know, you're going to,
10 spread; what would you do mechanically?                   10 based on the AWP spread is going to be about
11     A. You would click on the Econolink Icon              11 $20.00, I mean, and you could bring up a whole
12 on the computer, you would open the software              12 host of drugs under a generic listing, for
13 program, and you had a number of choices from the         13 instance Albuterol or ipratropium, and would list
14 menu and you could -- and you could essentially           14 all the generic ipratropiums and sometimes even
15 look at the items in the catalog of drug prices,          15 the brand, list them all in a line across, and
16 and when you brought up -- if you typed in NDC            16 you could look at which one had the best AWP and
17 number, you could search by NDC number, you could 17 which one had the lowest purchase price.
18 search by generic name, when it brought up the            18     Q. Okay, so maybe even less than one
19 drug it had two ways of producing information,            19 minute per NDC?
20 one was called a long form, which presented all           20     A. Yes, I would say very -- I would say
21 the information on that drug on one sheet of              21 very quickly.
22 paper, and it had a short form which presented            22     Q. Going back to, well, actually let me

                                                      1112                                                       1114
 1 all the information on that drug in smaller                1 connect this back to the disclosure statement.
 2 print, usually from left to right on -- on a               2        Do you recall whether any of these
 3 sheet of paper; and I think there was a little             3 printouts from the Econolink, the Servall
 4 more information in the long form than the short           4 information we're talking about, was sent along
 5 form, as I recall, but I'm not 100 percent sure            5 with the disclosure statement that we're talking
 6 of that, but I believe that was the case.                  6 about in paragraph 19 of Roxane 90?
 7     Q. Approximately how long would it take                7    A. I believe they were, but I don't -- I
 8 you to do this if you were going to, let's say,            8 can't tell you a 100 percent, but I would say
 9 calculate the spread and get this pricing                  9 that by April of 2000, by April 10th I believe we
10 information on an NDC of Roxane of ipratropium            10 had functioning Econolink Servall prices and, you
11 bromide; how much time would it take you to               11 know, you had to learn how to use these things
12 generate this?                                            12 and one of the easier things to do would be to
13     A. Well, you know, if you had an NDC in               13 print a simple sheet, so I believe they were
14 mind you could type the NDC in, the pricing       14 there, yes.
15 information popped up immediately, and it had the 15    Q. Let's move ahead to paragraph 30 of
16 AWP and the list price and the contract price and 16 Roxane 90, which is on page 15. And if you
17 you could do the mathematics yourself, or there           17 wouldn't mind just briefly reviewing paragraph
18 was another way to go into the software where you         18 30, which carries over to page 16, and I have a
19 would bring up the window that would calculate it         19 couple of questions to ask you about this
20 for you, it would do the math for you. So you             20 paragraph.
21 could do it either way, whichever you preferred.          21        [Witness peruses document.]
22     Q. Couple of minutes per NDC or something             22     A. Okay.
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                                                             51 (Pages 1115 to 1118)
                                                     1115                                                      1117
 1      Q. In particular, at the top of page 16,             1 reported to Texas.
 2 last sentence of paragraph 29 you talk about the          2    Q. When was this project when you reviewed
 3 Relator's, that being Ven-A-Care's, investigation         3 these documents?
 4 that revealed that each of the defendants,                4    A. Well, we started that in early 2000, is
 5 presumably including Roxane, when responding to           5 my recollection, um, and what I recall about it
 6 Texas Medicaid either affirmatively lied about            6 is that the Econolink software made that much
 7 their true prices or omitted material information         7 more -- much easier to do, because we had the
 8 to mislead Texas.                                         8 information electronically, we could do a
 9         Do you see allegation?                            9 printout, for instance, you could not only search
10      A. Yes, I do, um hum.                               10 an NDC you could search an NDC range.
11      Q. Can you explain to me what the basis of          11        So if Roxane's labeling code is 00054,
12 that allegation was.                                     12 you could query the system for NDCs 00054 with
13      A. Well, we -- and I need to sort of sort           13 all zeros through 00054 all nines, and it would
14 through the dates and times about exactly what we 14 then give you a printout of all of the Roxane
15 had and when -- but we very quickly started       15 drugs with their AWPs, their list prices and
16 working with the State of Texas, especially once         16 their contract prices so that we could look at a
17 we -- well, the benefit of the -- one of the             17 manufacturer much easier, we could go print out
18 benefits of the Econolink software was that we           18 and look at it and compare those and compare
19 could easily pull up NDCs and drugs and look at          19 those to the reports that had been given to Texas
20 pricing very quickly as opposed to having to have        20 or for the prices that Texas was paying or both.
21 a huge stack of paper to sort through.                   21    Q. And the Econolink also had the WACs in
22         So at some point we had been working             22 it, didn't it?

                                                     1116                                                      1118
 1 with the State of Texas for a while and we worked         1      A. Well, it had a -- the list price as
 2 with the Texas Medicaid Program and they asked us         2 best we could determine was within five percent
 3 to really come out and look at a lot of their             3 of the WAC, so it was very close representation
 4 drugs, as many as we could tolerate looking at,           4 of McKesson's actual acquisition cost, in their
 5 to help them find discrepancies between, um,              5 mind at least, their -- what they're going to
 6 prices that they were paying or prices that were          6 call WAC, which I would probably prefer to call
 7 reported to them.                                         7 their invoice price.
 8        Sometimes the difference was that they             8      Q. Now, did you share the Econolink
 9 were reported one WAC and -- and we felt we could         9 software with the State of Texas Medicaid
10 show that McKesson was buying the drug at a              10 personnel?
11 different WAC, or perhaps they reported a certain        11      A. Yes, we did. Pricing information-wise
12 number and they were showing them that the               12 initially, and then ultimately we gave the State
13 contract prices that we thought were often widely        13 of Texas a laptop with a functioning version of
14 available were much lower; but we went through           14 Econolink.
15 that process, and as part of that -- of helping          15      Q. When was that?
16 them with that they at some point made available         16      A. And -- and ultimately printouts --
17 information to us showing what manufacturers had         17 well, ultimately I believe the databases that we
18 reported to them, and Texas requires that you            18 created from the printouts, by importing a text
19 fill out a form and list a variety of prices on          19 file into Microsoft Access it allows you to
20 that form, and we were at times working with the         20 manipulate the data in more ways. You can divide
21 Attorney Generals and the Medicaid program people 21 AWP by list price very simply in a column; you
22 to compare our prices to the prices that were            22 can divide AWP by contract price very simply in a
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                                                             57 (Pages 1139 to 1142)
                                                     1139                                                        1141
 1         I've just handed you what's been marked           1     Q. Do you have any idea how many members
 2 as Roxane 96, it appears to be a document that's          2 were in the Servall GPO around March 2000?
 3 Bates labeled VAC MDL 43246 through 43247. It             3     A. Well, Servall was a GPO, it was my
 4 appears to be a cover sheet fax from Ven-A-Care           4 understanding that was for small independent
 5 to Rob Vito, dated April 5, 2000, and then                5 pharmacies that typically didn't have a lot of
 6 attached to it appears to be a printout from              6 revenue and based on their revenue couldn't get
 7 McKesson of a product sold to Ven-A-Care on March         7 better deals.
 8 29, 2000.                                                 8        So if you were a very high volume,
 9         Do you recognize this document?                   9 independent pharmacy McKesson would bring you
10     A. Yeah, this is actually, I think this is           10 into what I think was called McKesson Select,
11 an invoice. I mean it says invoice at the top of         11 which was their GPO, but if you weren't high
12 it. So it's invoice verification and these --            12 enough volume for them they would kind of point
13 the 11.72 and the I guess 28.12 appear to match          13 you to Servall. But I'm sure Servall would be,
14 up for those NDC numbers; but I would suspect, at 14 my guess would be had several thousand members,
15 least, that based on the date of this that these         15 but they would be all small, independent
16 purchases I suspect are based on the Servall             16 pharmacies without high volume, so by no means
17 contract, I'm at least suspicious that they are,         17 the best prices in the marketplace.
18 or if not then the Innovatix contract with               18     Q. I just want to be clear that these
19 McKesson.                                                19 particular prices, as far as you knew, would be
20         So you can see that they're, you're              20 available to thousands of these small,
21 correct, the 11.72 is a little cheaper than the          21 independent pharmacies like Ven-A-Care.
22 price in the preceding page of 12.95, yes, and           22     A. That is correct, and if they were

                                                     1140                                                        1142
 1 apparently we did send these to Rob Vito.                 1 Innovatix prices they would also be available to
 2    Q. So does it appear to you that the                   2 people who fit into the correct category at
 3 purchase that's indicated on or about March 29,           3 Innovatix.
 4 2000 in Roxane 96 is the source of the prices             4    Q. And could they be non-contract prices,
 5 that you have listed here at the top of page 46           5 could these have been prices that were available
 6 of the Complaint?                                         6 directly to any member, any properly ordering
 7     A. Well, whether they were the source or              7 pharmacy from McKesson?
 8 not, they certainly would be a source. Whether            8     A. I don't -- I don't think the -- I don't
 9 they are the only one or not, you know, I don't           9 think the McKesson list price is on this invoice
10 know what the, you know, I don't know if these           10 and I'm -- my recollection is that the McKesson
11 are the Servall contract prices or if they would         11 list price was not $11.72, and if we were buying
12 be the Innovatix contract prices or if there             12 without a contract I think we would be paying the
13 would be a difference in those; but yeah, they           13 McKesson list price, which would be a higher
14 are consistent with I think what's in the                14 number than this, and I don't know what that
15 Complaint.                                               15 number is.
16      Q. And these prices that are listed for             16     Q. Okay.
17   the two ipratropium bromide NDCs for Roxane on         17        MR. GORTNER: Let's take a brief break.
18   Roxane 96 Exhibit, if these were subject to the        18        THE VIDEOGRAPHER: The time is 3:11.
19   Servall contract these are the prices that would       19 We're going off the record. End of tape four.
20   be available to all the members that were part of      20        (Whereupon, a brief recess was taken).
21   the Servall GPO; is that right?                        21        THE VIDEOGRAPHER: The time is 3:27.
22      A. Yes, sir.                                        22 We're back on the record. Tape number five.
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                                                             61 (Pages 1155 to 1158)
                                                     1155                                                      1157
 1 carriers, I suspect that Mark Jones and Zach              1      A. You know maybe, and I would have to
 2 Bentley would probably have nor information on            2 look. I don't -- I don't know that I want to
 3 that particular issue.                                    3 absolutely claim that that's the case, but that
 4    Q. Would you turn to page 20 of the                    4 does ring a bell in my mind, that they may have
 5 Complaint. This is referring to Roxane 92. I              5 had some small advertising things in the Redbooks
 6 want to focus your attention on paragraph 42              6 or whatever that I would probably have to look to
 7 which carries over from page 20 and 21, and in            7 see; but there's something ringing a little bell
 8 particular Ven-A-Care alleges that the defendants         8 that perhaps there were some in, like, Medical
 9 use various forms of media to publicize the price         9 Economics.
10 and costs of their drugs, and what I want to do          10      Q. But you don't know for certain right
11 is tick through some of these categories and have        11 now?
12 you tell me whether you know if Roxane, in fact,         12      A. I would not say for certain, no.
13 used any of these methods for its ipratropium            13      Q. And if Ven-A-Care had, in fact,
14 bromide drug as alleged in this Complaint.               14 received or had a copy of such an advertisement
15        So let's start with direct mailings or            15 would it have produced it in this litigation?
16 electronic communications to pharmacies, for             16      A. If we found it and knew we had it, yes,
17 instance, which Ven-A-Care was; do you contend --        17 if -- we certainly would have tried to if we
18 that's okay, go 'head.                                   18 found it, yes.
19    A. I, um, well, I can speak to some of                19      Q. How about any advertisements by Roxane
20 these. The very first would be that some                 20 with respect to ipratropium bromide and drug
21 manufacturers, when they do price updates, send          21 topics?
22 pricing updates directly to the state Medicaid           22      A. Um, I don't recall one right now, but

                                                     1156                                                      1158
 1 agencies, and one example of that by Roxane would         1 could I absolutely say that it is the case, no, I
 2 be in fact that Roxane is required to send their          2 couldn't.
 3 prices directly to the State of Texas Medicaid            3     Q. How about any ads by Roxane regarding
 4 Program by the rules of their program, so that            4 ipratropium bromide in PDR generics?
 5 Roxane did do that, I can say --                          5     A. I would have to look. I can't tell you
 6     Q. Let me interrupt you for a moment,                 6 now that there was or wasn't. I don't recall
 7 sorry, Dr. Lockwood, it would be quicker, let me          7 one.
 8 ask more specific questions that way I think it           8     Q. And you don't recall any advertisements
 9 will be quicker to ask the information I'm                9 provided directly to physicians or pharmacists by
10 actually looking for, which is did Roxane ever           10 any Roxane drug company representatives?
11 directly mail Ven-A-Care a price sheet, for              11     A. Um, no, I don't recall any by
12 instance, or an advertisement?                           12 representatives from -- from Roxane, the company;
13     A. I'm not aware of one in our documents.            13 as I said, it may -- sometimes there is some
14 I guess there could be. I'm not aware of one             14 marketing material from the GPOs, I would have to
15 and/or whether we were marketed by a GPO on              15 go look.
16 Roxane's products. I found one for Dey that we           16     Q. Now, is there any GPO in particular
17 spoke about earlier after having looked for it,          17 that you think or believe may have marketed
18 but I don't recall one right now.                        18 Roxane's drugs to you?
19     Q. Okay. Do you recall ever seeing an                19     A. I don't, um, I don't have one in mind
20 advertisement, a publication like Medical                20 in particular but, for instance, I saw a
21 Economics for Roxane's ipratropium bromide               21 document, this J.J. Balan document, they would
22 product?                                                 22 often telemarket to us on inhalation drugs in
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                                                           62 (Pages 1159 to 1162)
                                                   1159                                                         1161
 1 general and say look, are you in the market for,        1 what is the basis of that allegation and whether
 2 you know, Albuterol or ipratropium or solutions         2 it involves Roxane, in particular?
 3 or inhalers or this or whatever, and then if we         3     A. Well, throughout the course of the
 4 said yes they would send us the, you know, the          4 investigation we talked to a number of Medicaid
 5 current prices that were available and if there         5 programs and program directors, and at one point
 6 were discounts or rebates or whatever associated        6 we talked to a guy who was the program director
 7 with that they would do that, and the J.J. Balan        7 of New Jersey Medicaid and he told us that he
 8 that I looked at here, as I recall, had some            8 had, as I recall, several cabinets full of
 9 Roxane drugs on it.                                     9 pricing information, flyers, whatever,
10   Q. It didn't exclusively list Roxane drugs           10 advertising, marketing information, that had been
11 though, did it? It had other companies' drugs?         11 sent to him by pharmaceutical manufacturers, and
12     A. Yes, sir, definitely. In fact, some of          12 we thought that would be interesting stuff to
13 them really marketed a host of inhalation drugs        13 look at.
14 from maybe several manufacturers. They were            14        So we talked to him about it, asked him
15 looking to generate sales, no question.                15 if we could look at it, and my recollection is we
16    Q. Do you have any recollection of any              16 contacted Reed Stephens at the Department of
17 GPO, including J.J. Balan, marketing specifically      17 Justice and he agreed to travel from Washington
18 Roxane's ipratropium bromide to you?                   18 to New Jersey and we went to New Jersey and we
19     A. Um, right now I don't, I don't have any         19 rented a copying machine and we copied, um, I
20 that I can think of. It would be me going        20 don't remember exactly how many pages, but it was
21 through the documents that have been supplied to 21 a lot of pages of information sent from
22 you and looking for them. I can't -- I can't     22 pharmaceutical manufacturers directly to state

                                                   1160                                                         1162
 1 maintain that I remember every document.                1 Medicaid about a whole host of things, many times
 2   Q. I'm not asking you about whether you               2 announcing a new drug, many times including the
 3 have a document that has a Roxane price on it;          3 pricing information, sometimes not, and -- and
 4 what I'm asking you very clearly is whether             4 then we, I guess, filed that, those copies, and,
 5 sitting here today you have any recollection of a       5 um, it gave us some insight I think into the fact
 6 GPO person on the phone or in person marketing          6 that there was a lot more paperwork going to
 7 specifically a Roxane drug to you.                      7 state Medicaid programs than what one might have
 8    A. I don't, but the guy who took most of             8 suspected; and, in fact, many manufacturers were
 9 those phone calls would be Luis Cobo, as the            9 worried that pricing changes and updates that
10 pharmacist at Ven-A-Care he took -- would take         10 were going through the compendia were not being
11 the calls from telemarketers, from wholesalers.        11 picked up quickly enough and that they wanted, if
12 They all wanted to speak to the pharmacist.            12 they raised their AWP they wanted the state
13   Q. That's not surprising.                            13 Medicaid programs to become aware of that
14      A. And we let them.                               14 immediately.
15      Q. Looking at paragraph 43 on page 21 of          15     Q. Do you recall whether there were
16   Roxane Exhibit 92, under 43 a) you mention           16 documents from Roxane in that collection that you
17   examples of advertisements routinely delivered by    17 copied?
18   defendants, including ones that were delivered to    18     A. I do not.
19   the State of New Jersey's Medicaid Pharmacy          19        MR. GORTNER: Jim, I don't believe
20   Program; do you see that?                            20 these documents have been produced in this
21      A. Yes.                                           21 litigation.
22      Q. Can you just explain to me generally           22        MR. BREEN: I'll have to check. If they
     Case 1:01-cv-12257-PBS Document 6197-19 Filed 06/26/09 Page 11 of 19

                                                             63 (Pages 1163 to 1166)
                                                     1163                                                     1165
 1 were requested they were produced, if they were           1     Q. Those appear to be roughly the same
 2 -- but I'll have to check. I know the ones he's           2 prices as were in the earlier Complaints;
 3 talking about.                                            3 correct?
 4     Q. And then in terms of when you reviewed             4    A. Yes, I think the 12.95 price changed
 5 documents at the Texas Medicaid office in circa           5 and 11.70 was substituted in the first chart and
 6 2000 that we were talking about earlier today,            6 11.70 is used in the second chart.
 7 did you make copies and retain those documents?           7     Q. Let's turn now to Roxane 93, which is
 8     A. I would have to look. I would say                  8 Ven-A-Care's Third Amended Complaint filed
 9 this, we sometimes made copies of essentially the         9 February 15, 2005, and in particular I want to
10 print screen from the Texas Vendor Drug Program's 10 draw your attention to Exhibit 1, which is at the
11 computer system that showed what they were               11 back of the Complaint, and in Exhibit 1 it
12 paying, and that allowed us to have copies of            12 appears that you list a series of Roxane NDCs
13 those so that we could compare that to what we           13 that you are now alleging fraud with regard to;
14 were paying.                                             14 do you see that?
15        Whether we have a copy of the actual              15     A. Yes.
16 files that were submitted by the manufacturers to        16     Q. Can you explain how it was that in 2005
17 Texas Medicaid I'd have to look, I don't know if         17 you added so many drugs from a single ipratropium
18 we -- I don't know if we copied those files or I         18 bromide drug to all these Roxane drugs?
19 don't know if we were allowed to copy those              19     A. Um, I think we made essentially a
20 files. I don't recall. We were allowed to look           20 tactical decision with the attorneys to add in
21 at them.                                                 21 more drugs. Um, the pricing for many of these
22     Q. Are there any more state Medicaid                 22 drugs was certainly available from the Econolink

                                                     1164                                                     1166
 1 agencies where you were allowed to copy documents         1 software, we had the Servall pricing, but we had
 2 of this sort related to manufacturer reports?             2 prices on some of these NDC numbers that went
 3     A. No, I -- I don't think -- I think we               3 back a number of years and we made a decision to
 4 asked a number of Medicaid programs if they had           4 add these NDCs in to the Complaint.
 5 that sort of thing, and most of them sort of              5     Q. Now, before filing this Complaint on
 6 routinely said that they looked at them and threw         6 February 15, 2005, the Texas Ven-A-Care Complaint
 7 them away. Whether they entered data from them            7 against Roxane had been unsealed; isn't that
 8 or those sorts of things I don't specifically             8 right?
 9 know, but I think most Medicaid programs said             9     A. Um, yeah, I think so. I would think we
10 that they got what they, you know, might have            10 were, yes, yes.
11 referred to as sort of junk mail or whatever from        11     Q. Isn't it true that you'd received
12 manufacturers that they often threw away; but            12 documents from Roxane produced in the Texas
13 whether they acted on some of it or not, um, you         13 litigation before February 15, '05?
14 know, I think some of them may have, I don't             14     A. I would expect.
15 know.                                                    15     Q. And there had been depositions of
16     Q. Now, if we could turn to page 146 of              16 Roxane personnel before February 15, 2005; do you
17 Roxane 92, and in particular on page 146 and 147         17 remember that?
18 it appears that Ven-A-Care is again reporting in         18     A. I would think so, um hum, yes.
19 these two boxes its cost of about, of around --          19     Q. Did you review the Texas documents that
20 from around March of 2000 for ipratropium bromide        20 were produced by Roxane?
21 that's at issue; do you see them?                        21     A. As part of the Texas case we looked at
22     A. Yes, sir.                                         22 Roxane documents, yes.
     Case 1:01-cv-12257-PBS Document 6197-19 Filed 06/26/09 Page 12 of 19

                                                              64 (Pages 1167 to 1170)
                                                      1167                                                        1169
 1       Q. And you reviewed them before February             1 about it.
 2   15, '05; isn't that right?                               2        (Witness peruses exhibit.)
 3       A. Yes, sir.                                         3     A. Okay.
 4       Q. And did you attend any of the                     4     Q. There is a statement in there,
 5   depositions of Roxane personnel in the Texas             5 paragraph No. 188, where Ven-A-Care alleges that
 6   case?                                                    6 Roxane's AWPs and WACs are in some cases more
 7       A. I don't think I -- I don't think I did,           7 than 500 percent of its AMPs.
 8   I think Mr. -- Mr. Jones I think attended all of         8        Do you see that statement about the
 9   those, or not all of them but many of them. I            9 defendants and AWPs and WACs in some cases being
10   did go to some other, I think, third party              10 more than 500 percent of their AMPs?
11   depositions where the Roxane attorneys were             11     A. Yes, I see the statement.
12   involved, but I don't think that I went to a            12     Q. Can you explain how Ven-A-Care knew
13   deposition of a Roxane employee personally, I           13 that? What is the basis of that statement?
14   don't think so.                                         14     A. Well, um, it was a -- a line of
15       Q. Do you recall Department of Justice had          15 assumptions in general, because we didn't have
16   an attorney at some of the Texas depositions of         16 AMP from manufacturers, we didn't have them, it's
17   Roxane personnel?                                       17 that simple, but what we did know was that for
18       A. It's my understanding that they did,             18 some drugs that the prices that we were paying
19   yes.                                                    19 were some of the higher prices in the marketplace
20       Q. Do you remember who that was or if               20 not the lower prices in the marketplace, and we
21   there were different ones?                              21 believed that as much, as you said earlier, that,
22       A. I think there were different ones, but           22 that anybody with a Servall contract could buy at

                                                      1168                                                        1170
 1 George Henderson I think was one of the attorneys          1 those prices, anybody with an Innovatix contract
 2 who attended some of the Roxane depositions, yes.          2 or anybody with a McKesson Select contract or in
 3     Q. Do you remember if Mr. Stephens was at              3 fact anybody who was a legitimate purchaser in
 4 some of the depositions?                                   4 the marketplace who was truly in business and
 5     A. You know, he may have been, I don't --              5 trying to make a living, we believed that
 6 I don't know, but that may be the case, yes.               6 virtually all of these people were availing
 7     Q. And how did your review of Texas                    7 themselves of contract pricing or discounted
 8 documents or the depositions taken in the Texas            8 pricing in one form or another, and we made an
 9 case inform your allegations in this Complaint?            9 assumption that in essence if, you know -- I'll
10        MR. BREEN: Objection to form.                      10 give you just a hypothetical, which I can't
11     A. I don't think it -- I mean I think we              11 guess, if you gave me some time I might be able
12 used -- in filing this Complaint we used the              12 to work one out for someone's drug here -- but if
13 pricing information that we had. I could look,            13 the reported WAC is $50.00 on a product and we
14 but I'm not aware of Ven-A-Care ever using any            14 believed, based on our survey of the marketplace,
15 documents obtained in or any subpoenaed documents 15 that no one in the marketplace could be paying
16 in filing our Complaints, um, I'm not aware of            16 more than $5.00 for that product or no prudent
17 that ever happening.                                      17 purchaser in the marketplace could be paying more
18     Q. Let's turn to page 102 of the Complaint            18 than $5.00, we would imagine that the AMP for
19 and in particular paragraph 188.                          19 that product would be somewhere around $5.00 or
20     A. Okay.                                              20 at least a large enough discrepancy between the
21     Q. Maybe you could quickly review that                21 $50.00 reported WAC and a marketplace that we see
22 paragraph and I'll ask you a couple of questions          22 that centering around $5.00 --
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                                                           65 (Pages 1171 to 1174)
                                                   1171                                                        1173
 1    Q. Let me interrupt you just for a moment,           1 say that there might be circumstances where the
 2 and I apologize, Dr. Lockwood, because I think          2 government, state or federal, might ask us to
 3 you answered my question, which is when you used        3 look at something or might ask us to look at an
 4 the phrase A-M-P or AMP in this paragraph, you          4 AMP or a best price, um, in regarding these
 5 were referring to a guesstimate by Ven-A-Care of        5 pricing cases; but I don't think we ever believed
 6 what the AMP should be not the actual AMP               6 that we were empowered to get that as part of an
 7 numbers?                                                7 investigation alone, necessarily.
 8     A. Precisely, absolutely, definitely.               8       I think at some point, you know, I
 9     Q. At any point did you ask to receive              9 don't know, this is lawyers stuff, um, once we
10 AMPs from the Federal Government?                      10 become party to some litigation whether we have
11     MS. ST. PETER-GRIFFITH: I'm going to               11 the right to subpoena that is a whole other
12 object to the form of the question.                    12 issue, I guess, I don't know; but we weren't
13       MR. BREEN: Me too.                               13 using some AMP information that we got from
14       MR. GORTNER: Let me try to rephrase              14 anybody to make these kinds of statements. We
15 it.                                                    15 were saying that there are situations where the
16     Q. Did you ever request AMPs from any              16 marketplace is so different from the reported
17 federal entity?                                        17 prices that the AMPs can't possibly be based on
18         MS. ST. PETER-GRIFFITH: I'm going to           18 our look at the market, they can't possibly be
19 object to the form of the question. It's the           19 even close.
20 substance that, you know, I'm directing -- that I      20    Q. Going back to what you said a moment
21 have a concern about, because it suggests that         21 ago, did you ever receive AMP information with
22 there's an opportunity to do that. That's the          22 respect to any manufacturer?

                                                   1172                                                        1174
 1 basis of my objection.                                  1         MS. ST. PETER-GRIFFITH: Objection to
 2         MR. GORTNER: Okay. I appreciate that.           2 form.
 3         MR. BREEN: May I suggest one of those           3         MR. BREEN: Objection to form. And also
 4 "do you recall" or "do you know" before you ask         4 object to the last response as non-responsive.
 5 him to answer the question? Do you know what I'm        5      A. Um, we were asked to look at -- if you
 6 saying?                                                 6 mean received did somebody hand me a document or
 7         MR. GORTNER: Let's take a step back.            7 tell me to look at a document that may have had
 8     Q. Do you recall or do you know whether             8 an AMP on it as part of a lawsuit, yeah, yeah.
 9 you, in fact, I mean did you have a belief --           9      Q. Who asked you to look at it?
10 scratch that.                                          10      A. Oh, any number of, I mean Attorney
11         Did Ven-A-Care have a belief as to             11 Generals or U.S. Attorneys may have had me look
12 whether it could ask any federal entity to             12 at a document that had AMP on it because I --
13 receive AMP information as part of its                 13         MR. BREEN: I'm going to object at this
14 investigation?                                         14 time getting into the "because" on the grounds of
15    A. You are going to have to read that back          15 attorney-client privilege.
16 to me, I'm sorry, I have to understand that            16         THE WITNESS: Okay.
17 better.                                                17         MR. BREEN: And I'll instruct the
18     Q. Did Ven-A-Care have a belief as to              18 witness not to answer any of the because's. If
19 whether it could ask any federal entity to             19 you'll let me talk to the witness I think I can
20 receive AMP information as part of its                 20 assist you to get through this, because I think
21 investigation?                                         21 there is some confounding of issues here pre- and
22     A. I think the way I can answer this is to         22 post-discovery.
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                                                             67 (Pages 1179 to 1182)
                                                     1179                                                       1181
 1       A. Okay.                                            1        (Discussion held off the record.)
 2       Q. Did any states ask you to review AMP             2        (Whereupon, a brief recess was taken).
 3   information as part of this DOJ litigation?             3        THE VIDEOGRAPHER: The time is 4:33.
 4       A. For Roxane?                                      4 We're back on the record. Tape number 6.
 5       Q. Um hum.                                          5           CONTINUED EXAMINATION
 6       A. For Roxane, no, none that I'm aware of,          6 BY MR. GORTNER:
 7   no, no.                                                 7     Q. Dr. Lockwood, during Ven-A-Care'S
 8       Q. Okay. How about at any point in time,            8 investigation of Roxane it never had an inside
 9   have you ever been asked by any states to review        9 source, like an employee or someone who worked at
10   AMP information pertaining to Roxane?                  10 Roxane, giving it information, did it?
11           MR. BREEN: As part of this litigation,         11     A. No, not -- no.
12   the February 2007 litigation?                          12     Q. And no one at Ven-A-Care ever,
13           MR. GORTNER: I'm asking for any                13 obviously, worked at Roxane; isn't that right?
14   litigation.                                            14     A. That's correct.
15           MR. BREEN: Now we are into any                 15     Q. And had anyone at Ven-A-Care outside
16   litigation?                                            16 this litigation ever had communications with
17           MR. GORTNER: Yes.                              17 anyone from Roxane?
18           MR. BREEN: Okay. I'll object to the            18     A. Well, I think I could only speak for
19   form of the question and I'll instruct the             19 myself. I haven't. I haven't called the company
20   witness not to answer because it's so broad it's       20 or something like that directly.
21   going to necessarily encompass things that may be      21     Q. Are you aware if any of the principals
22   covered by attorney-client privilege and work          22 of Ven-A-Care have ever had contact with a Roxane

                                                     1180                                                       1182
 1 product privilege.                                        1 employee or representative outside of this
 2        MR. GORTNER: Let's break it down to                2 litigation?
 3 cases that have been unsealed.                            3     A. Not that I'm aware of, no.
 4     Q. Are you aware of a variety of state AGs            4     Q. Is it fair to say that in terms of
 5 that have sued Roxane in this AMP litigation?             5 Ven-A-Care's knowledge of what occurred
 6     A. Okay.                                              6 internally at Roxane's business, all that
 7     Q. With respect to cases ongoing, cases               7 information would come from either documents or
 8 that have been unsealed -- and this should deal           8 testimony in this litigation?
 9 with the sealed situation -- have any of those            9        MR. BREEN: Objection to form.
10 states asked you to review AMP information               10    A. Well, I don't think that Ven-A-Care had
11 pertaining to Roxane?                                    11 -- well, I think what Ven-A-Care had was the
12     A. I don't think I recall seeing AMP                 12 market prices and its view of the marketplace and
13 information on Roxane, you know, I don't remember 13 that formed the basis for our Complaints.
14 seeing it on Roxane, period.                             14        We didn't have a source of knowledge
15        If we did see it it would have been               15 inside of Roxane that would allow us to know
16 part of the litigation in Texas once it was              16 something about what was going on at Roxane.
17 unsealed and being litigated; but I don't think,         17        To the extent that we became familiar
18 I don't have a recollection right now of seeing          18 with any of that it would be during the course of
19 Roxane's AMPs in that case.                              19 litigation.
20        MR. GORTNER: Let's take a short break.            20     Q. Okay. So let my take you through a
21        THE VIDEOGRAPHER: The time is 4:23. We            21 couple of specific categories and make sure that
22 are going off the record.                                22 we're in agreement in terms of what Ven-A-Care
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                                                               68 (Pages 1183 to 1186)
                                                       1183                                                       1185
 1 did or did not know about these practices outside           1 anything about how they did sales training, that
 2 of the litigation.                                          2 would be correct.
 3         How Roxane internally calculated its                3     Q. And didn't know anything about how
 4 AWPs, Ven-A-Care didn't know anything about that;           4 Roxane internally decided to market its drugs;
 5 correct?                                                    5 isn't that right?
 6         MR. BREEN: Objection to form.                       6         MR. BREEN: Objection to form.
 7      A. I think what we always believed was                 7   A. Well, only, not internally, but only
 8 that companies were always responsible for their            8 what we saw externally, meaning our view of the
 9 AWPs and internally how Roxane decided what AWP             9 marketplace that came to us being a small
10 was is not something that we or what they                  10 pharmacy.
11 reported was not something that we knew, no.               11   Q. Now, did any Roxane representative ever
12      Q. And the same would go for a WAC, right,            12 market the spread on any of its drugs to
13 what Roxane internally understood WAC to                   13 Ven-A-Care?
14 represent, Ven-A-Care didn't have direct                   14   A. I'm not aware of that, as I said,
15 knowledge of that outside the litigation?                  15 whether some -- we got some GPO flyer or
16      A. We knew what we thought WAC represented            16 something like, that I'm not aware of one. If we
17 and what was going on in the marketplace; but no,          17 have one I expect it's in the documents we've
18 we didn't know what Roxane was doing regarding or          18 produced; but no, I don't know of one right now.
19 how they decided to report a WAC or not report a           19     Q. But you are not aware of any Roxane
20 WAC.                                                       20 salesperson --
21      Q. And the same would be for how Roxane               21    A. No, sir.
22 internally determined the actual sales prices for          22     Q. Let me just finish the question so it's

                                                       1184                                                       1186
 1 their drugs at issue in this litigation?                    1 clear on the record.
 2      A. Absolutely. I think we have -- I mean               2     A. I'm sorry.
 3 I understand how the marketplace works and I                3        MR. BREEN: Playing the Great Karnac
 4 understand that they might have to respond to               4 here. Excuse me.
 5 price cuts by other manufacturers in the                    5        THE WITNESS: I'm sorry.
 6 marketplace but -- so I understand, I believe we            6     Q. You are not contending that any Roxane
 7 understand that -- but as to when Roxane decided            7 salesperson or employee ever marketed a spread on
 8 to cut a price or raise a price, that was their             8 any of Roxane's drugs to Ven-A-Care?
 9 own internal business.                                      9        MR. BREEN: Objection to form.
10      Q. And you didn't know -- Ven-A-Care                  10     A. No, I'm not aware of any Roxane
11 didn't know anything about that?                           11 salesperson coming to Ven-A-Care and knocking on
12      A. No, we didn't have knowledge.                      12 the door or calling us directly, who is a Roxane
13         What we -- the knowledge we had was the            13 employee and marketing to us, I'm not aware of
14 knowledge that was in the marketplace that was             14 that, no.
15 proprietary to us and/or the marketplace that              15     Q. Now, outside of the documents and
16 only people that could buy these drugs might               16 testimony in this litigation, did Ven-A-Care have
17 know.                                                      17 any information as to any discussions that Roxane
18      Q. Okay. It's fair to say that outside of             18 may have had with GPOs that were selling its
19 this litigation Ven-A-Care didn't know anything            19 drugs?
20 about how Roxane trained its sales force, for              20        MR. BREEN: Objection to form.
21 instance?                                                  21     A. No, I mean only to the extent that we
22      A. No, we wouldn't -- we didn't know                  22 -- that we might see something coming from a, um,
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                                                              69 (Pages 1187 to 1190)
                                                      1187                                                          1189
 1 GPO or from a wholesaler about Roxane's prices or          1 I wasn't at the negotiation, that's correct.
 2 marketing their drugs, that would be our view of           2    Q. And I would be correct in stating that
 3 the market, meaning what we would see, you know,           3 the same would apply to any communications
 4 and that works, you know, I think that would               4 between Roxane and wholesalers, that Ven-A-Care
 5 include any flyers, faxes, you know, other things          5 didn't have direct knowledge about any
 6 that we might get from wholesalers and/or GPOs.            6 communications between Roxane and wholesalers
 7 That -- that was pretty much our view of the               7 outside of the information in this litigation?
 8 market.                                                    8       MR. BREEN: Objection to form, and I'd
 9       Q. Let me be more precise in my question             9 ask that the court reporter read the question
10 because what my question --                               10 back and the witness listen to it.
11       A. Okay.                                            11       [The requested portion of the record
12       Q. -- is is whether Ven-A-Care, outside of          12 was read.]
13 this litigation, had any information about                13       MR. BREEN: Objection to form.
14 whether Roxane had discussions with GPOs about            14     A. Well, I would just say, once again, and
15 the marketing of its drugs.                               15 I'll probably say it over and over again, that we
16       A. Well, only to the extent that Roxane's           16 have our view of the marketplace and to the
17 drugs were offered by GPOs, and to that extent I          17 extent that information is passed on to us from
18 think we would assume that Roxane had made some 18 wholesalers or GPOs, in the marketplace about
19 contract or bid with that GPO to provide the    19 companies and their drugs, that we believe that
20 prices, but we were not in the middle of those            20 the company knows or is familiar with and is
21 meetings or discussions; but we certainly knew if         21 responsible for the information being passed
22 a drug was being offered by a GPO that they had           22 along, if that includes prices or advertising or

                                                      1188                                                          1190
 1 had discussions with Roxane regarding those                1 rebates, that we believe that it's reasonable and
 2 prices and the members who would qualify because           2 correct to assume that the company is aware of
 3 that's the sort of information they required from          3 that; but beyond that I don't have information on
 4 us.                                                        4 Roxane's internal workings and that that I think
 5       Q. I understand that. It's just fair to              5 sums it up.
 6 say that you didn't know anything about what the           6     Q. Or Roxane's specific communications, if
 7 content of those discussions, if any, were?                7 there were any, between wholesalers and Roxane on
 8       A. That would be correct, other than the             8 the drugs at issue in this litigation?
 9 prices that we would see and/or any sales                  9         MR. BREEN: Objection to form.
10 materials that we might see as a result of that.          10     A. I don't have those specific
11          I would assume, in the example we made           11 communications, although I might have the
12 earlier today, that Dey Laboratories was aware            12 information from those.
13 that Servall was sending a flyer out advertising          13         For instance, what the price to Servall
14 its rebate. I would believe that and infer that,          14 members might be may have been on a communication
15 and if I saw a similar flyer on Roxane -- which I         15 between Roxane and Servall and I suspect I could
16 can't produce for you now or tell you even exists         16 infer that there absolutely was a communication
17 -- then I would make the assumption that Roxane           17 along those lines and I think I could rely on it.
18 knew that the GPO was doing that.                         18     Q. Let's turn to Roxane Exhibit 94, which
19       Q. You just didn't know that for a fact?            19 is the United States Complaint that was unsealed
20          MR. BREEN: Objection, form.                      20 in late January of 2007.
21       A. I don't know that Roxane, that's                 21         Did you have a chance to review this
22 correct, I don't -- I wasn't in the conversation,         22 Complaint before it was unsealed, Dr. Lockwood?
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                                                              70 (Pages 1191 to 1194)
                                                      1191                                                      1193
 1     A. I don't -- I don't believe I read this              1 maybe for some drugs going up. The WACs might be
 2 Complaint prior to it being filed. Um, the                 2 coming down but might not be coming down as
 3 Government doesn't necessarily ask me to approve           3 quickly as the retail prices.
 4 their Complaints. I may have participated in               4        From all of the pricing information
 5 information that's in the Complaint but I don't            5 that we could glean from the information we had
 6 think I -- I don't recall having the opportunity           6 available I think we could draw the assumptions
 7 to read the final Complaint and I'm not even sure          7 that Roxane was responsible for the AWPs and WACs
 8 if I read a draft. I assume my attorneys did, but          8 they were reporting, and they were also
 9 I'm not so sure that I did.                                9 responsible for their prices in the marketplace,
10     Q. Do you understand that Ven-A-Care                  10 and to the extent that there were discrepancies
11 subsequently adopted this Complaint as its                11 between those it was our impression that there
12 Complaint as well in this litigation?                     12 was a problem.
13     A. I understand that that is the -- that              13        Did we have the internal documents that
14 has or is what happened, yes, I understand that.          14 talked about that, that problem? The answer is
15     Q. Could you please turn to paragraph 61              15 no, no.
16 on page 16 of this Complaint, and I'll ask you to         16        Were we able to infer from what we were
17 quickly review paragraph 61 and I'll have a few           17 seeing in the marketplace that there might be
18 questions about it.                                       18 discussion along those lines? I can only tell
19         (Witness peruses document.)                       19 you what we could see, which was the reported
20     A. Okay, I've read it.                                20 prices were -- were significantly higher than the
21     Q. Is it fair to characterize that                    21 prices in the marketplace and we felt that that
22 paragraph ascribing an alleged pricing strategy           22 created a problem on which we could base a

                                                      1192                                                      1194
 1 that Roxane developed in 1996 pertaining to the            1 Complaint but we didn't have the internal
 2 launch of ipratropium bromide?                             2 knowledge of the internal documents that were
 3     A. That appears to be what it talks about,             3 either there or not there.
 4 yes.                                                       4    Q. But you did obtain documents pertaining
 5     Q. Now, in light of what we were talking               5 to the launch of ipratropium bromide in the Texas
 6 about a moment ago, Ven-A-Care didn't have any             6 and other litigation, didn't you?
 7 information, did it, outside of this litigation,           7     A. Certainly at some point when that
 8 of what Roxane's pricing strategy was in 1996              8 litigation was unsealed and litigated we saw
 9 with respect to ipratropium bromide?                       9 documents, yes, sir.
10         MR. BREEN: Objection, form, asked and             10   Q. And that was well before February 2007,
11 answered.                                                 11 wasn't it?
12     A. Well, I guess there's a couple of ways             12   A. Yes, sir.
13 of looking at this paragraph, and the way that I          13    Q. And you took depositions of Roxane
14 think Ven-A-Care would look at this paragraph is          14 personnel before February of 2007 with respect to
15 that Ven-A-Care became aware of the price that            15 the launch of ipratropium in 1996, didn't you?
16 Roxane was reporting in the compendia, AWPs               16   A. Yes, we took or our attorneys took
17 and/or WACs, and we became aware of the prices            17 depositions from Roxane employees, yes.
18 that we were seeing in the marketplace and we             18   Q. It's not your testimony, is it, that
19 were -- became aware that those prices were               19 that deposition testimony, the documents that
20 decreasing in the marketplace while the reported          20 Ven-A-Care reviewed, have nothing to do with the
21 prices were in some circumstances, like the AWPs, 21 allegations in paragraph 61, is it?
22 I believe they were staying the same or perhaps   22       MR. BREEN: Objection, form.
     Case 1:01-cv-12257-PBS Document 6197-19 Filed 06/26/09 Page 18 of 19

                                                             71 (Pages 1195 to 1198)
                                                     1195                                                     1197
 1     A. I guess what I'm saying is, is that                1 that litigation, yes, absolutely.
 2 within paragraph 61 I believe our -- are the              2     Q. Do you have any reason to believe that
 3 components of our core allegations in our earlier         3 you did not see documents pertaining to Roxane's
 4 Complaints.                                               4 ipratropium bromide launch in 1996 prior to the
 5        These specific and any specific                    5 unsealing of this Complaint, Roxane 94?
 6 reference to -- and I don't know that there's a           6     A. Well, I guess what I would say is that
 7 specific document referenced here, but it looks           7 I think we saw documents that surrounded the
 8 that way at least -- would be part of the                 8 launch of ipratropium in '96 and the documents
 9 government's investigations, whether it be State          9 that we at Ven-A-Care saw were -- the principals
10 or Federal, that became their view of Roxane, so         10 of Ven-A-Care saw were documents that were not
11 to speak.                                                11 labeled "attorneys eyes only," so there's a whole
12        We didn't have the ability, outside of            12 host of documents out there that I haven't seen
13 government, to have that view of Roxane. So I            13 is kind of my point.
14 guess what I'm saying is I believe our core --           14        There are a whole host of documents
15 our core issues are found within this paragraph          15 that I have seen, and some of those surround the
16 but without the internal documents we certainly          16 launch, but I'm trying to decide if the documents
17 didn't have internal documents to prove that.            17 that I have seen really and fully and completely
18        I -- I could infer that Roxane was                18 support what's said in paragraph 61. I don't
19 developing a pricing strategy to have a                  19 know.
20 discrepancy between their AWPs and their WACs and 20               I can't -- I can't, in my mind, come up
21 their market prices, just based on what I'm              21 with a Roxane document that's sort of an aha!
22 seeing in the marketplace that they had made,            22 moment for me that says aha! here's the document

                                                     1196                                                     1198
 1 because I'm assuming they're responsible for all          1 that says that that's the missing link. I don't
 2 of this, they know what they're doing, they're a          2 -- I don't have that in my mind. It may be
 3 large manufacturer with a marketing plan in a             3 there, I may have seen it or it may be "attorneys
 4 marketplace environment and if they're eroding,           4 eyes only," I'm not sure.
 5 if prices are eroding in the marketplace and              5     Q. You testified earlier that Mark Jones
 6 they're keeping the prices up that are reported,          6 did attend all the depositions taken of Roxane
 7 I believe they know what they're doing.                   7 personnel in the Texas litigation; isn't that
 8    Q. Dr. Lockwood, my question was simple, I             8 right?
 9 believe.                                                  9    A. That's correct, and I would suggest
10     A. Okay.                                             10 that Mr. Jones was probably generally more
11     Q. Which was, did prior to January 2007              11 knowledgeable about the litigation that occurred
12 Ven-A-Care receive documents from Roxane in the          12 in Texas with Roxane, that he was following that
13 Texas litigation that addressed the issue of             13 case more closely than I was.
14 Roxane's ipratropium bromide launch in 1996?             14     Q. Let's take a look at paragraph 64 of
15   A. I would expect that we did, yes, in, in             15 the Complaint on page 17. I'd like you to look
16 that litigation, that -- that information other          16 over that paragraph quickly and let me know when
17 than -- and the Texas litigation there was               17 you are done reviewing it.
18 information that was designated "attorneys eyes          18       (Witness peruses exhibit.)
19 only" information that we were not allowed to            19     A. Okay.
20 see, and my recollection is Roxane used that             20     Q. In particular there's a quote of a
21 designation for a significant number of their  21 Roxane senior marketing manager which claims to
22 documents, um, but we saw documents as part of 22 quote in part that Roxane reported AWP and WAC
     Case 1:01-cv-12257-PBS Document 6197-19 Filed 06/26/09 Page 19 of 19

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